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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                                NORTHERN DIVISION
                                   AT COVINGTON

  NICHOLAS SANDMANN, by and           : CASE NO. 2:19-cv-19-WOB-CJS
  through his parents and natural     :
  guardians, TED SANDMANN and         : JUDGE WILLIAM O. BERTELSMAN
  JULIE SANDMANN,                     :
                                      :
              Plaintiff,              :
                                      :
  v.                                  :
                                      :
  WP COMPANY LLC d/b/a THE            :
  WASHINGTON POST,                    :
                                      :
              Defendant.              :
                                      :


                      PLAINTIFF’S RESPONSE IN OPPOSITION
                      TO DEFENDANT’S MOTION TO DISMISS
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                                          INTRODUCTION

        “Tale bearers are as bad as tale makers.” Nicholson v. Rust, 52 S.W. 933, 934 (Ky. 1899).

 The Post ignores this longstanding rule of liability for republication and asks this Court to hold as

 a matter of law that a sixteen-year-old student cannot recover for the Post’s negligent republication

 of agenda-driven lies that created an entirely false narrative. In its Motion to Dismiss (“Motion”),

 the Post ignores that the Complaint sets forth a legal cause of action for negligent republication to

 third parties of false statements that in context, were defamatory of Plaintiff Nicholas Sandmann

 (“Nicholas”). The Post does not challenge Nicholas’s status of a private figure plaintiff – nor could

 it do so successfully under the facts set forth in the Complaint. The Post has no constitutional

 privilege shielding it from liability for the negligently republished false factual statements by third

 parties of and concerning a private figure such as Nicholas, even if the third parties are quoted

 accurately. “It is an ancient rule that authors and publishers may not repeat false and defamatory

 matter and escape liability with the plea that they were but quoting a source deemed authentic.”

 McCall v. Courier-Journal & Louisville Times Co., 623 S.W.2d 882, 894 (1981) (rejecting the

 doctrine of “neutral reportage” in Kentucky, which has no basis in the constitution and which, in

 any case, does not apply to private figures); Restatement (Second) of Torts (“Restatement”) § 578

 (“[O]ne who repeats or otherwise republishes defamatory matter is subject to liability as if he had

 originally published it.”). The Post was obliged to use reasonable care to ensure its coverage was

 accurate in the first instance, especially given the magnitude of the resulting public hatred, ill will,

 and contempt directed at Nicholas, a minor, that was foreseeable in the politically charged and

 polarized climate in which the Post sought to capitalize on this event in its reporting.

        The Post’s reporting was so obviously inaccurate that it made the rare decision to admit in

 multiple editor’s notes that critical accusations it published are “contradicted” by the evidence,



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 which “called into question the entire substance of” its reporting. Yet the Post now contradicts its

 editor’s notes by asking this Court to hold on a motion to dismiss that its accusations are

 substantially true, a fact issue. The Post further contends Nicholas should be thrown out of court,

 claiming that as a matter of law, its false statements were non-defamatory, subjective opinions.

 The Post did not merely report subjective assessments, it republished demonstrable falsehoods,

 including that Nicholas accosted Native American Elder Nathan Phillips (“Phillips”) when he and

 his Covington Catholic High School (“CovCath”) classmates “suddenly swarmed” Phillips, who

 was merely singing a prayer song of unity; and that Nicholas then “blocked [Phillips’] way and

 wouldn’t allow [him] to retreat” from the “aggressive” swarm of students, while Nicholas and his

 CovCath classmates taunted and mocked him. (Compl. Exs. D-F).

        Avoiding any discussion of the context in which these and other accusations against

 Nicholas were published, the Post’s lawyers tell this Court that accusing Nicholas of this conduct

 is not actionable because “[s]tanding one’s ground, even when offensive to others, is celebrated in

 American culture as a sign of strength and self-possession.” (Mot. at 22) (citing Kentucky’s “Stand

 Your Ground” law). Viewing the Post’s false accusations in context reveals nothing about the

 Post’s coverage that was celebratory, or even neutral, about Nicholas. The Post did not initially

 report that Nicholas only respectfully “stood his ground” after being confronted with threats of

 physical harm by an adult stranger; to the contrary, it reported that Phillips peaceably “stood his

 ground” and prayed after being confronted with threats of physical harm and racist taunts by

 Nicholas. Cf. KRS § 503.0350 (the use of physical force is justified if “necessary to protect himself

 against the … use of unlawful physical force.”). Context is fatal to the Post’s Motion.

        The Post knows that it literally reversed the truth, which is to say, it knows its coverage

 was false and provably so. Indeed, when compared to its lawyers’ briefing, the Post, its editorial



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  staff, and its journalists have been much more forthright in their “mea culpa” coverage regarding

  the indisputable falsity of the Post’s accusations and the defamatory meaning of its coverage. Far

  from taking the position that the gist of its reporting was substantially true and non-defamatory,

  the Post instead characterized the meaning of its earlier coverage, in part, as follows:

         Given Phillips’s comment to The Post that he was “swarmed” by the students,
         readers would be licensed to conclude that the students saw him from afar, targeted
         him and advanced. We learned later that Phillips himself had walked straight into
         the student group, making a swarm all but inevitable. Let’s say a man jumps from
         a platform into an aquatic expanse. Did he dive into the water? Or did water
         surround and swarm him?

  Https://wapo.st/2LJaCV7 (last visited May 7, 2019).

         The Post’s admission that its coverage gave readers a “license[] to conclude” that Nicholas

  targeted Phillips and advanced is virtually indistinguishable from the defamatory meaning standard

  to be addressed by the Court: whether a reasonable jury could conclude that the Post’s coverage

  in context conveyed the defamatory meanings alleged in the Complaint. But this out-of-court

  admission still omits the full false context and the false narrative the Post promulgated and spread

  by republishing false statements of third parties: including that a “throng” of “white teenagers”

  wearing “MAGA” caps were “trying to instigate a conflict” when they “threatened” Phillips, while

  he was “singing the American Indian Movement song of unity,” which, among other, conduct

  “clearly demonstrates the validity of our concerns about the marginalization and disrespect of

  Indigenous peoples” and mirrored “anti-Native American sentiments” Phillips previously

  encountered. (Compl. Exs. D-F).

         And while the above admission alone justifies rejecting the Post’s contentions that the gist

  and the specific statements creating that gist are substantially true and non-defamatory, the Post’s

  “editor’s notes” support finding that the statements are provably false and capable of a defamatory

  meaning. The Post admits in its Policies and Standards that it “is necessary to use . . . [an] editor’s

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  note to inform readers whenever we correct a significant mistake,” and editor’s note is defined, in

  part, as a “correction that calls into question the entire substance of an article . . . .”2 As referenced

  by the Post on page 12 of its Motion, those editor’s notes included the following:

          Subsequent reporting and video evidence contradicted or failed to corroborate that
          one of the activists was accosted and prevented from moving, that they had been
          taunted by the students in the lead-up to the encounter, that the students were trying
          to instigate a conflict, or that “March for Life” participants chanted “Build that
          wall.”
                                                   ***
          More complete video does not show that the student physically intimidated Phillips.
                                                   ***
          Also, this version of the story has been revised to clarify that certain statements
          reported by Phillips are not corroborated by widely circulated video of the incident.3

          Thus, despite admitting that upon investigation its damaging accusations against Nicholas

  are either contradicted or uncorroborated, the Post urges that its accusations against Nicholas are,

  somehow, substantially true on the one hand as a matter of law or are subjective opinions that

  cannot be proven false as a matter of law. Further, while claiming that the defamatory meanings

  Nicholas ascribed to the Post’s coverage are too strained – including, e.g., that Nicholas was trying

  to instigate a confrontation and physically intimidated and threatened Phillips – the Post itself uses

  nearly identical language while itself describing the “significant mistakes” it made in its articles.

          The Post’s assertion that its reporting constituted non-actionable protected opinion – its

  sole assertion that is not a clear fact issue for the jury – is not just belied by its editor’s notes and

  other admissions by Post staff4 that its coverage was unsubstantiated by the evidence; the reason



  2
    See https://wapo.st/2YtB2Mg (last visited May 7, 2019).
  3
    See the Post’s Motion at pages 12 through 13 and footnotes 11 through 14.
  4
    See Twitter account of Post columnist Megan McArdle, available at https://bit.ly/2DvJPW8 (last
  visited May 7, 2019) (stating, among other things: “Then a longer video surfaces, proving pretty
  incontrovertibly that almost none of . . . [what the Post stated in early coverage] happened;” “This
  is obviously not even close to what Phillips said happened, and also, very hard to confuse
  Phillips[’] account; the discrepancies are not minor…;” “Any piece of information that comes from
  Phillips should be utterly discounted. Journalists do not rely on sources who tell two different
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  the Post could investigate and disprove its own accusations is precisely because the offending

  articles convey falsifiable facts rather than subjective opinion. The Post’s articles describe conduct

  and events that either happened or did not happen. Nicholas either “suddenly swarmed” Phillips

  or he did not. He either blocked Phillips’ path and his retreat from a swarm of aggressive students

  or he did not. He either instigated the confrontation or he did not. He either taunted and mocked

  Phillips or he did not. Controlling case law does not provide a false statement with protection

  because it is self-servingly prefaced with “my opinion,” “I think,” or “I feel.” The question is not

  whether the statements are described by the republisher as an opinion or belief, but whether the

  statements implied provably false facts. The Post has admitted in its editor’s notes the latter.

         Finally, the Post also ignored an entire body of law eviscerating its assertion that the group

  libel doctrine shields it from liability because it defamed too many teenagers to have specifically

  defamed Nicholas. All of the Post’s articles prominently feature Nicholas by including or

  referencing a viral video of the incident in which Nicholas is the indisputable focus, and otherwise

  bring the reader’s attention to Nicholas through textual signposts. Nicholas was the only student

  highlighted by the Post through words and pictures, and it is no obstacle that certain defamatory

  statements would also be understood to refer to other unidentified students. The Post’s coverage

  portrayed Nicholas as the face of this alleged racist incident. The Post made Nicholas the poster

  child for the false narrative that some white, Catholic boys wearing MAGA caps had targeted and

  engaged in threatening racist conduct toward a peaceful elderly Native American praying to

  himself at a rally for Indigenous rights. Thus, each and every accusation the Post made against the



  versions of major events in quick succession, after video has disproven the first account. For
  obvious reasons;” “But I don’t think that ‘wearing a MAGA hat’ is in the same class as
  ‘surrounding an elderly Native American man and implicitly threatening him’;” and “Fighting
  racism is a good cause. It is a GREAT cause. It does not require us to believe things that are not
  true. And it cannot afford us to believe things that aren’t true.”)
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  CovCath students is reasonably understood to apply to Nicholas.

         Because the Post failed to exercise reasonable care prior to republishing the false narrative

  of the tale makers, the motion to dismiss by the tale bearer must be denied.

                                    FACTUAL BACKGROUND

         For good reason, the Post’s Motion fails to address Nicholas’s factual allegations regarding

  the falsity of the Post’s accusations and, in doing so, avoids any discussion of the context created

  by its own publications and in which it published its accusations against Nicholas.5

  I.     Nicholas Was a Victim, Not an Aggressor, at the January 18 Incident.

         On January 18, 2019, Nicholas attended the March for Life on a high school trip with his

  CovCath classmates. (Compl. ¶¶ 3, 20). Nicholas and his classmates were instructed to meet at

  the steps of the Lincoln Memorial at the National Mall by 5:00 p.m. to catch their buses to return

  to Kentucky. (Id. ¶ 21). While waiting for the buses, Nicholas and his CovCath classmates were

  verbally assaulted by a known hate group who call themselves the Black Hebrew Israelites. (Id.

  ¶ 23). To drown out the Israelites’ hate speech, one of Nicholas’s CovCath classmates sought and

  received permission from a school chaperone to engage in school spirit cheers. (Id. ¶ 24).

         During a school cheer, Phillips and a small group of his companions who had earlier

  attended the Indigenous Peoples March instigated a confrontation with Nicholas and his classmates

  when they approached from a distance beating drums, singing, dancing, and carrying cameras (the

  “January 18 incident”). (Id. ¶ 25). Phillips intentionally walked past clear pathways to the Lincoln

  Memorial and into the crowd of CovCath students, who merely acquiesced in his chosen course

  of conduct, including specifically confronting Nicholas and beating a drum within inches of



  5
   The Post’s Motion to Dismiss reads more like a motion for summary judgment, failing to
  acknowledge that for purposes of its Motion, Nicholas’s allegations must be treated as true.


                                                   6
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  Nicholas’s face while Nicholas stood silently. (Id. ¶¶ 29-32, 34-36). Phillips was free to move

  about the CovCath students and never made any attempt to move past, around, or away from

  Nicholas. (Id. ¶¶ 33, 37). Nicholas did not swarm Phillips, never moved toward Phillips, never

  made any movement to block Phillips’ path, never prevented Phillips from physically moving

  wherever he wished, and never physically intimidated Phillips. (Id. ¶¶ 39-42, 50). Nicholas never

  uttered a word or made a gesture towards Phillips. (Id. ¶¶ 43-46). The interaction ended when

  Nicholas was instructed to move to the buses, at which time Phillips turned away from the Lincoln

  Memorial and outwardly celebrated some perceived “win” over Nicholas, with his companion

  yelling “I got him, man. . . . We won grandpa, we f***ing won grandpa!” (Id. ¶¶ 48-49).

           In fact, during the January 18 incident, Nicholas, a minor, was verbally assaulted with

  homophobic and racist insults by a group of adult strangers and political activists before being

  unexpectedly and without explanation physically confronted by a different group of adult strangers

  and political activists who filmed the encounter while their leader beat a drum inches from

  Nicholas’s face, which he acquiesced in without turning away for fear doing so would be

  misconstrued as a sign of disrespect. Yet the Post turned Nicholas, the victim, into the aggressor.

  II.      The Public Record.

           The Post relied, in part, on an unsourced, edited one-minute video of the January 18

  incident posted to social media on the evening of January 18 by a person named Kaya Taitano,

  focusing exclusively on Nicholas’s interaction with Phillips. (Id. ¶ 52). Later, a similar video

  focused entirely on the interaction between Nicholas and Phillips, was posted to Twitter by a fake,

  for sale Twitter account called @2020fight. (Id. ¶¶ 54, 57-59). The @2020fight video was viewed

  millions of times within a matter of days. (Id. ¶¶ 55-56).6 The Viral Video did not show any of



  6
      The Taitano and @2020fight videos are collectively referred to herein as the “Viral Video.”
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  the defamatory conduct the Post alleged against Nicholas. (Id. ¶ 53). On January 19, 2019, one

  of the Black Hebrew Israelites posted a lengthy video accurately chronicling the January 18

  incident. (Id. ¶ 63). On January 20, 2019, Nicholas issued a public statement that accurately

  related the facts of what occurred in the January 18 incident. (Id. ¶ 69, Ex. B).

  III.   Nicholas Was a Victim of the Post’s Negligent Reporting.

         Throughout the Post’s coverage, it relied on numerous tale makers to spread into the

  mainstream the false and defamatory narrative about Nicholas. The Post’s investigation into the

  January 18 incident was so shallow – to the extent any investigation was ever undertaken – that

  the Post did not even know Nicholas’s name when it began attacking his reputation. (Id. ¶ 92, Ex.

  D). Its failure to investigate the serious claims made by biased tale makers can be explained, in

  part, by Nicholas wearing a souvenir MAGA cap and the Post’s demonstrable bias against

  President Trump.7 (Id. ¶¶ 1-3, 11, 17).

         On January 19, 2019, the Post published its first article entitled, “It was getting ugly’:

  Native American drummer speaks on MAGA-hat wearing teens who surrounded him” (“First

  Article”). (Id. Ex. D). The Post was the tale bearer of false statements uttered by Phillips, Darren

  Thompson (an organizer for the Indigenous Peoples Movement), and Chase Iron Eyes (a Native

  American attorney). Two variations of that article followed the next day, one online (“Second

  Article”) (id. Ex. E), and one in print, entitled, “Marcher’s accost by boys in MAGA caps draws

  ire” (“Third Article”) (id. Ex. F), both of which added the Dioceses and CovCath to the list of tale

  makers. These articles were a thoroughly one-sided account of the January 18 incident that



  7
    The Post belittles Nicholas again by describing his complaint as being politically motivated to
  help President Donald J. Trump because it includes allegations regarding the Post’s anti-Trump
  bias (a bias the Post does not deny in its Motion). Bias is relevant to the Post’s negligence and
  actual malice. See, e.g., Harris v. City of Seattle, 152 Fed. App’x 565, 568 (9th Cir. 2005)
  (evidence of pre-conceived narrative “may often prove to be quite powerful evidence” of malice).
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  depicted Nicholas as a villain by republishing false and defamatory statements, including: (1) the

  “teens . . . surrounded” Phillips; (2) “Phillips, 64, said he felt threatened by the teens and that they

  suddenly swarmed around him as he and other activists were . . . preparing to leave”; (3) “the teens

  . . . began taunting the dispersing indigenous crowd”; (4) the teens “chant[ed] ‘Build that wall,

  build that wall,’”; (5) “‘[Nicholas] just blocked my way and wouldn’t allow me to retreat’”; (6)

  “the incident . . . ended when Phillips and other activists walked away”; and (7) “‘[i]t was an

  aggressive display of physicality.’” (Id. Exs. D-F).

         The Post placed these false facts in a nefarious context, conveying to the reader that

  Nicholas’s conduct was racist, and that Phillips was the “hero” of the story – a Native American

  elder and Vietnam veteran who was the victim of racist actions and white privilege but withstood

  it with quiet dignity. In the First Article, the Post wrote, among other things, that: (1) “Phillips, an

  Omaha tribe elder who also fought in the Vietnam War, has encountered anti-Native American

  sentiments before . . .”; (2) Nicholas was one of a “throng of young, mostly white teenage boys”;

  (3) Phillips “was singing the American Indian Movement song of unity that serves as a ceremony

  to send the spirits home”; (4) Phillips was “singing a song of unity for indigenous people to ‘be

  strong’ in the face of the ravages of colonialism”; and (5) the incident “demonstrates the validity

  of . . . concerns about the marginalization and disrespect of Indigenous peoples. . . .’” (Id.).

         The first three articles conveyed the false and defamatory gists that: Nicholas(1) instigated

  a confrontation with Phillips and subsequently engaged in racist conduct; (2) assaulted and/or

  physically intimidated Phillips; and (3) engaged in racist taunts. (Id. ¶¶ 115-17, 120, 125-26).

         The Second and Third Articles also included a statement by tale makers, the Diocese of

  Covington (“Diocese”) and CovCath “school officials,” who “condemned” the conduct of the

  students and threatened expulsion, and included false statements that the teens were behaving in a



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  manner “opposed to the Church’s teachings on the dignity and respect of the human person,” which

  the Diocese itself concedes is false. (Id. Exs. B-C, E-F). These articles conveyed the additional

  false and defamatory gists that Nicholas’s behavior violated the fundamental standards of his

  religious community and the policies of his school, to such an extent that he may be subject to

  expulsion. (Id. ¶¶ 120, 127-28).

  IV.    The Post Perpetuated the False Narrative Rather than Admitting Its Errors.

         No later than January 20, 2019, the Post had actual knowledge of the falsity of the

  accusations that Nicholas instigated a racist confrontation with Phillips during which he

  supposedly taunted and assaulted Phillips, as it eventually admitted in its editor’s notes. (Id. ¶ 175).

  Nevertheless, the Post continued falsely defaming Nicholas.

         On January 20, 2019, the Post published online its fourth false and defamatory article

  entitled, “‘Opposed to the dignity of the human person’: Kentucky Catholic diocese condemns

  teens who taunted vet at March for Life” (“Fourth Article”). (Id. Ex. G). The tale-bearing Post

  told the lies of multiple tale makers, including Phillips, the Diocese, and CovCath. This article

  included the following false and defamatory statements: (1) Nicholas “was blocking . . . [Phillips]

  from moving”; (2) “Kentucky Catholic diocese condemns teens who taunted vet at March for

  Life”; (3) the teens were “taunting a Native American veteran”; (4) “a few of the young people

  chanted ‘Build that wall, build that wall’”; and (5) the teens’ “behavior is opposed to the Church’s

  teachings on the dignity and respect of the human person.” (Id.)

         The Fourth Article painted a false and defamatory picture, including by: (1) stating that

  pro-Trump elements in the pro-life movement have “led to moral decay that harms the movement”;

  (2) characterizing a longer video showing a Native American taunting a child as “unverified,”

  while making no such qualification for the Viral Video; (3) stating that the CovCath students



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  wearing MAGA hats exhibited “racist, shameful, disrespectful behavior,” including by “harassing

  a Native American elder and Vietnam Vet”; and (4) stating that the Diocese condemned the

  behavior towards Phillips and Native Americans, which may warrant expulsion. (Id.).

         The Fourth Article conveyed the false and defamatory gists that Nicholas (1) instigated a

  confrontation with Phillips and engaged in racist conduct; (2) assaulted Phillips; (3) violated the

  fundamental standards of his religious community; and (4) broke the policies of his school

  justifying expulsion. (Compl. ¶¶ 132-35).

         The defamatory onslaught against Nicholas continued with the January 20, 2019, online

  article entitled “Most young white men are much more open to diversity than older generations”

  (“Fifth Article”). (Id. Ex. H). The Fifth Article’s false and defamatory statements include the

  following: (1) Nicholas “appeared to physically intimidate Nathan Phillips”; (2) the teens

  “confronted an elderly Native American man”; and (3) “some [teens] reportedly chanted, ‘Build

  the wall!’” (Id.). The Fifth Article created a context to defame Nicholas, including by stating that:

  (1) the January 18 incident “sent a ripple of fear and anger across the country” and “resurfaced

  tensions that have been simmering since President Trump’s campaign began”; and (2) Nicholas

  and the teens somehow internalized that their behavior was acceptable.” (Id.) The ensuing false

  and defamatory gists are that Nicholas instigated a confrontation with Phillips, subsequently

  engaged in racist conduct, and assaulted and/or physically intimidated him. (Compl. ¶¶ 139-40).

         On January 21, 2019, the Post published two nearly identical articles that gave the

  appearance of balanced reporting but continued to peddle the false narrative that Phillips was an

  innocent and elderly Native American seeking to defuse a dangerous situation, only to find himself

  surrounded by Nicholas and other racist, hateful, disrespectful, and mocking teenagers. The sixth

  false and defamatory article, published in print, is entitled “Fuller view emerges of conflict on



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  Mall” (“Sixth Article”) (id. Ex. I), and the seventh false and defamatory article, published online,

  is entitled “Viral standoff between a tribal elder and a high schooler is more complicated than it

  first seemed” (“Seventh Article”) (id. Ex. J). The tale makers for these articles included Phillips,

  Shar Yaqataz Banyamyan (a Hebrew Israelite), Ephraim Israel (a Hebrew Israelite), and Jon

  Stegenga (a photojournalist who focuses on progressive causes), the Diocese, and CovCath.

         The false and defamatory statements in these two articles include: (1) Phillips “‘was being

  surrounded and not being shown respect’”; (2) “[t]he Israelites and students exchanged taunts”;

  (3) “some students shouted, ‘Build the wall!’”; (4) “some students laughed and mocked [the

  Israelites]”; (5) “‘Before the[ teens] got centered on the black Israelites, they would walk through

  and say things to each other, like, ‘Oh, the Indians in my state are drunks or thieves’”; (6) the teens

  shout[ed], ‘Go back to Africa!’”; (7) the teens “‘were mocking . . . ancestors in a chant’”; (8) the

  teens said “‘build the wall’ and ‘Trump 2020’” about the “time that Phillips intervened”; (9)

  “Phillips said he was trying to reach the top of the memorial.” (Id.)

         The context given in the Sixth and Seventh Articles contributed to the false and defamatory

  gists, including through statements that: (1) Phillips, “a member of the Omaha tribe and a Marine

  veteran” beat his drum as “a supplication to God,” as “America [was] being torn apart by racism,

  hatred, bigotry’”; (2) Phillips “saw more than a teenage boy (Nicholas) in front of him,” as “[h]e

  saw a long history of white oppression of Native Americans”; (3) the Diocese condemned

  Nicholas, threatening expulsion; and (4) Phillips contemplated, ‘[w]hy should I go around

  [Nicholas],’ given “‘500 years of genocide in this country, what . . . [Nicholas’s] people have

  done’” and that he does not “‘even see . . . [Phillips] as a human being.’” (Id.)

         The Sixth and Seventh Articles conveyed the false and defamatory gists that Nicholas: (1)

  instigated a confrontation with Phillips and engaged in racist conduct; (2) assaulted and/or



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  physically intimidated Phillips; (3) violated the fundamental standards of his religious community;

  and (4) broke the policies of his school and should be expelled. (Compl. ¶¶ 145-48, 152-55).

         Finally, the Post tweeted the First Article on January 20, 2019, in a three-tweet thread

  (“Tweets”) (Id. Ex. K). In addition to communicating the false and defamatory statements and

  gists of the First Article, the Tweets independently made the false and defamatory statements, for

  which Phillips was again the tale maker, that: (1) the “teens jeered and mocked” Phillips; (2)

  “[Nicholas] stood in . . . [Phillip’s] way; and (3) “[Nicholas] blocked” Phillips’ “way and wouldn’t

  allow . . . [him] to retreat.” (Id.). The Tweets also independently conveyed the false and

  defamatory gists that Nicholas engaged in racist conduct and assaulted Phillips. (Compl. ¶ 160).8

  V.     Investigations by the Diocese and the Post Establish Falsity.

         In a practical demonstration that the accusations leveled by the Post are, indeed, provably

  false rather than subjective opinion, the Diocese retained a third-party investigative firm who spent

  240-man hours investigating the January 18 incident. (Id. ¶¶ 73-77). That investigative firm found

  that Nicholas’s January 20 statement accurately set forth the events of the January 18 incident and,

  in the Diocese’s words, the findings “exonerated our students.” (Id. ¶¶ 75, 78, Exs. B-C). As

  discussed in the introduction, supra, the Post also investigated its own claims and found many of

  the central accusations to be defamatory and contradicted or unsubstantiated by the evidence.

                                            ARGUMENT

         Kentucky’s Constitution recognizes a “fundamental right of private individuals to be free




  8
   While relentlessly reporting false accusations against Nicholas regarding the January 18 incident,
  the Post failed entirely to tell its readers about the aggressive and agenda-driven actions of its
  principal source, including when he and many others attempted on the night of January 19 to
  interrupt mass at the Basilica of the National Shrine of the Immaculate Conception during which
  he called for Nicholas to be “reprimanded” by both CovCath and his “upcoming university.” See,
  e.g., https://bit.ly/2WR9QGw and https://bit.ly/2FLUgXT (last visited May 10, 2019).
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  from being defamed,” mandating that “‘[e]very person may freely speak, write and print on any

  subject, being responsible for the abuse of that liberty.’” McCall, 623 S.W2d 882, 886 (quoting

  Ky. Const. § 8) (emphasis added). The Supreme Court of Kentucky has recognized that “some

  categories of speech are undeserving of any constitutional protection at all, including false,

  defamatory speech.” Hill v. Petrotech Res. Corp., 325 S.W.3d 302, 312 (Ky. 2010).

  I.     Legal Standards to Be Applied.

         A.      All Allegations of the Complaint Must Be Taken as True.

         One error that is a constant throughout the Post’s Motion is its refusal to acknowledge the

  breadth and detail of Nicholas’s allegations and that Rule 12(b)(6) requires only plausibility. To

  defeat a Rule 12(b)(6) motion, a complaint must contain enough factual matter to state a claim that

  is facially plausible. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). Facial plausibility exists when

  the factual allegations allow a court to draw the reasonable inference that the defendant is liable

  for the alleged misconduct. Id. The plausibility standard applies to each of the elements of

  defamation individually. See, e.g., Araya v. Deep Dive Media, LLC, 966 F. Supp. 2d 582, 596-97

  (W.D.N.C. 2013) (rejecting group libel defense and holding that plaintiff’s identity was “plausibly

  ‘ascertainable’” where she was not named or described in article but a photograph in the article of

  over one hundred individuals highlighted her in particular). The Post ignores this standard in three

  of its four chief arguments – that the Articles are not “of and concerning” Nicholas, are

  substantially true, and not defamatory per se.

         B.      Of and Concerning Is a Jury Issue if There Is Any Ambiguity.

         The Post showed, linked, and/or referenced the unsourced Viral Video in each of its

  Articles, and Nicholas was the face of the Post’s reporting and the CovCath group, which is

  sufficient to establish standing. The of and concerning inquiry is a question of law only “where

  there is no ambiguity in the language used in connection with all the attendant circumstances.”
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  Marr v. Putnam, 196 Or. 1, 15 (1952). If, after examining the libelous publication as a whole and

  in context, there exists any ambiguity as to whether the libel is of and concerning the plaintiff, the

  question must go to the jury. See, e.g., Restatement § 617 cmt. a (“[W]hether [publication] was of

  and concerning the plaintiff [is] ordinarily for the jury or trier of fact to determine.”); O’Brien v.

  Williamson Daily News, 735 F. Supp. 218, 223-24 (E.D. Ky. 1990), aff’d, 931 F.2d 893 (6th Cir.

  1991) (analyzing “the article as a whole” and finding that libelous “language can be understood to

  refer specifically to” the plaintiff and the “ultimate conclusion on the reasonableness of the

  allegedly libelous interpretation must lie with the finder of fact”); Cheney v. Daily News L.P., 654

  Fed. App’x 578, 581 (3d Cir. 2016) (“[W]e look at the context and ask whether ‘the defamatory

  material was capable of being reasonably understood as intended to refer to the complainant.”);

  Farrell v. Triangle Publ'ns, Inc., 399 Pa. 102, 106 (1960) (collecting cases from ten jurisdictions

  for rule that of and concerning is generally jury issue).

         C.      Defamatory Meaning Is a Jury Issue if There Is any Ambiguity.

         The Post similarly argues incorrectly that if the Articles are capable of more than one

  meaning, then a jury cannot determine that the Articles are defamatory per se. (Mot. at 15-16, 28-

  29). That argument has been rejected by the Kentucky Supreme Court:

         Although it is usually the court’s function to determine whether a crime imputed
         by published statements is actionable as libel per se, where the words at issue are
         capable of more than one meaning, as they are here, the jury should decide which
         of the meanings a recipient of the message would attribute to it.

         . . . ‘If it is capable of two meanings, one of which would be libelous and actionable
         and the other not, it is for the jury to say, under all the circumstances, including
         extraneous facts admissible in evidence, which of the two meanings would be
         attributed to it by those to whom it is addressed or by whom it may be heard.’

  Yancey v. Hamilton, 786 S.W.2d 854, 858 (1989) (citations omitted) (emphasis in original).

  Indeed, a Western District decision earlier this year considered and expressly rejected the same



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  argument based upon the same two cases cited by the Post. See Desai v. Charter Commc’ns, LLC,

  2019 WL 1421756, at *5 (W.D. Ky. Mar. 29, 2019) (“Given the Kentucky Supreme Court’s

  equally thorough and far more recent discussion in Stringer, on facts strikingly similar to those at

  issue here, the Court finds Stringer to be the more relevant precedent”); see also Arno v. Stewart,

  245 Cal. App. 2d 955, 960 (1966) (where libelous per se and innocent construction both possible

  “it is error to charge that the publication is not actionable per se and put the plaintiff to proof of

  special damages where such proof would not be necessary if the jury accepted the defamatory

  meaning”). The Court’s role is to determine whether the Articles are capable of a per se

  defamatory meaning, not whether it is the only possible meaning.

         D.      Truth or Falsity Is a Jury Issue Except in the Clearest Cases.

         Finally, and perhaps most egregiously, the Post urges this Court to dismiss the Complaint

  because it contends that its Articles are “substantially true.” The doctrine of substantial truth

  applies “in very narrow and limited circumstances and relates only to incidental information and

  not to essential content.” Ky. Kingdom Amusement Co. v. Belo Ky., Inc., 179 S.W.3d 785, 791

  (Ky. 2005). The question of substantial truth is a highly factual inquiry generally reserved for the

  jury and is not an issue to be resolved on a motion to dismiss where Nicholas’s allegations of

  falsity must be accepted as true. See, e.g., Restatement § 617 cmt. a (“[T]he question of whether

  the defamatory imputations are true is ordinarily for the jury.”); Clark v. Viacom Intern. Inc., 617

  Fed. App’x 495, 510 (6th Cir. 2015) (same); Brokers Choice of Am., Inc. v. NBC Universal, Inc.,

  757 F.3d 1125, 1137 n.8 (10th Cir. 2014) (uncovering “no case in which a court dismissed a claim

  prior to discovery on the basis of substantial truth when substantial truth was contested”). Putting

  aside the Post’s admission that critical accusations are contradicted by the evidence, Nicholas has

  exhaustively contested the falsity of the Articles’ gist and discrete accusations, and the question of



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  substantial truth therefore cannot be resolved on a 12(b)(6) motion. Cf. id. (question can be

  resolved by the court when the “underlying facts as to the gist or sting are undisputed”).

         E.      The Post Is Not Entitled to Report Lies Even if It Does so Accurately.

         Because Nicholas is a private figure plaintiff, the standard to be applied is negligence –

  which the Post mentions only once in passing in its brief. See, e.g., Yancey, 786 S.W.2d at 859 .

  Without naming it for what it is, the Post attempts to rely on the “neutral reportage” doctrine. In

  its Introduction, the Post contends that “[i]t was neither false nor defamatory . . . for the Post to

  report the comments of eyewitnesses, including the only participants who were speaking publicly

  about the matter on the day that videos of the event went viral on the internet” and suggests it had

  a right to get it wrong first so long as it eventually got it right. (Mot. at 1-2, 19-20). The Post’s

  contention that it was entitled to publish anything eyewitnesses were saying, without investigation,

  must be rejected, because that position invokes the neutral reportage doctrine, which was explicitly

  rejected by the Kentucky Supreme Court in McCall. 623 S.W2d 882, 886-87 (rejecting neutral

  reportage and concluding that “respondents’ argument that they simply repeated allegations is

  without merit.”) Justice Lukowsky, concurring, explained in more detail the issue regarding the

  doctrine of “neutral reportage” and how it would constitute a departure from well-established law:

        It is an ancient rule that authors and publishers may not repeat false and defamatory
        matter and escape liability with the plea that they were but quoting a source deemed
        authentic. They are not saved by accompanying the defamation with an expression
        of disbelief. The respondents submit that we should recognize an absolute
        constitutional privilege of “neutral reportage.” The doctrine provides that the media
        are privileged to make reports of newsworthy charges even if they doubt their truth
        so long as they reasonably and in good faith believe that the charges are accurately
        conveyed. There are at least two flaws in this diamond: (i) the courts that have
        recognized the doctrine have limited its application to statements about public figures
        and public officers, and movant, as we will hereinafter demonstrate, is a private
        person, and (ii) the constitution does not require the recognition of such a privilege.

  Id. at 894 (J. Lukowsky, concurring) (citations omitted) (emphasis added).



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         The Post’s virtually identical argument that “the Post had a right to report” Phillips’ and

  other false tale makers’ accusations defies Kentucky law and must be rejected by this Court. (Mot.

  at 2). The Post could not rely upon this argument in a case involving a public figure, and it most

  certainly cannot here because Nicholas is a private figure.9

  II.    The False and Defamatory Accusations Are Of and Concerning Nicholas

         The Post asserts that the group libel doctrine bars Nicholas’ claims, but Nicholas was the

  face of the Post’s reporting and the larger context of the January 18 incident.10 Each of the Articles

  singled out Nicholas from the rest of his classmates and emphasized his individual involvement

  by use of and reference to the Viral Video, as well as by specifically describing Nicholas’s alleged

  conduct. (Compl. ¶¶ 114, 124, 131, 138, 144, 151). His image was directly and prominently

  featured in the First, Second, Fourth, and Seventh Articles. (Id. ¶¶ 114, 119, Exs. D-E, G, J).11

  Each Article makes explicit reference to the Viral Video, often in the first sentence.12 (Id. Exs. D-

  J). The Sixth and Seventh Articles reference Nicholas by name. (Id. ¶¶ 144, 151, Exs. I, J).

  Indeed, Nicholas was the only student in the CovCath group singled out by the Post, and none of

  the Post’s Articles exclude Nicholas from the purported conduct of the students generally. The



  9
     It is similarly frivolous for the Post to argue that its later coverage somehow erased the
  defamation communicated by its earlier coverage. To the extent the Post subsequently reported
  the truth, it is an indictment of the Post’s earlier coverage, as are the Post’s editor’s notes, which
  alone are sufficient to defeat its defenses of substantial truth, opinion, and defamatory meaning.
  10
     See the Post article stating “[t]his brings me to Nick Sandmann, a junior at Covington Catholic
  High School in Kentucky, who over the weekend became the national stand-in for privileged white
  Trump supporters everywhere.” Available at https://wapo.st/2PWvxCG (last visited May 7, 2019).
  11
     Although Nicholas was forced to resort to archived versions of the First and Second Articles, he
  also alleged the Post’s use of the Viral Video identifying Nicholas by his image. The Court may
  view the First and Second Articles and the Post’s use of the Viral Video at https://wapo.st/30cVLp2
  (last visited May 7, 2019); the Fourth Article at https://wapo.st/2HlBxB8 (last visited May 7,
  2019); and the Sixth Article at https://wapo.st/2E09lCK (last visited May 7, 2019).
  12
      Plaintiff does not have the original Third or Sixth Articles from the Post’s newspaper.
  Regardless, as set forth herein, it is irrelevant whether his image was actually on the page because
  each referenced the Viral Video and described Nicholas individually.
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  Post cannot now claim it is unreasonable to conclude the Articles apply to Nicholas specifically.

         Whether or not the Court views the of and concerning inquiry through the lens of group

  libel, the same question remains: could a jury reasonably conclude “the defamatory words refer to

  some ascertained or ascertainable person?” Louisville Times v. Stivers, 68 S.W.2d 411, 412 (Ky.

  1934).13 “A defamatory communication is made concerning the person to whom its recipient

  correctly, or mistakenly but reasonably, understands that it was intended to refer.” Restatement §

  564. “[T]he plaintiff need not be specifically identified in the defamatory matter itself so long as

  it was so reasonably understood by plaintiff’s ‘friends and acquaintances . . . familiar with the

  incident.’” Stringer v. Wal-Mart Stores, Inc., 151 S.W.3d 781, 793-94 (Ky. 2004), overruled on

  other grounds by Toler v. Sud-Chemie, Inc., 458 S.W.3d 276 (Ky. 2014). Though unnecessary in

  this case, the Court may look outside the four corners of the Articles to answer whether they are

  about Nicholas, which “does not affect whether the defamatory statement is per se or per quod.”

  E.W. Scripps Co. v. Cholmondelay, 469 S.W.2d 700, 702 (Ky. Ct. App. 1978).

         A.      Nicholas Does Not Rely on His Status as a Member of the CovCath Group to
                 Confer Standing and the Group Libel Doctrine Is Therefore Inapplicable.

         The group libel defense is inapplicable for the simple reason that Nicholas does not assert

  that his membership in the CovCath group independently establishes that the Post’s accusations

  are “of and concerning” him, specifically. The group libel doctrine bars a claim only where a



  13
     Ultimately, the result is the same whether the Court addresses of and concerning through the
  lens of the group libel doctrine or not. See Church of Scientology v. Flynn, 744 F.2d 694, 697 n.5
  (9th Cir. 1984) (rejecting group libel doctrine but holding plaintiff’s “claim would also fall within
  a well-established exception to the group libel rule that allows a group member to sue upon a
  showing that ‘the circumstances of a publication reasonably give rise to the conclusion that there
  is particular reference to the member.’ Restatement (Second) of Torts § 564A(b) (1977). This
  approach is not analytically different from our conclusion that the group libel rule does not apply.
  See Comment, supra, at 1536 (noting that this principle is not really an exception to the group libel
  rule, but rather ‘is merely a recognition that one who is individually defamed can sue even if the
  defamation is disguised as a group slur’)).”
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  plaintiff is not otherwise identified and resorts to relying on his membership in a group to

  independently establish standing. See, e.g., O’Brien, 735 F. Supp. at 222 (“Where a publication

  affects a class of persons without any special personal application . . . an individual member not

  specifically imputed or designated cannot maintain an action.”) (emphasis added).

         Here, the Post conceded that the text of its Articles have special personal application to

  Nicholas and otherwise specifically designate him when it stated, among other things, “the guy in

  the hat . . . blocked my way and wouldn’t allow me to retreat,” while altogether failing to address

  the juxtaposition of this and other statements alongside the use of Nicholas’s likeness in the Viral

  Video. (Compare, e.g., Compl. Exs. D-F with Mot. at 29). Because the Post referred specifically

  to Nicholas, the group libel doctrine is inapplicable. See, e.g., Stanton v. Metro Cop. (Stanton I),

  357 F. Supp 2d 369, 375-76 (D. Mass. 2005), rev’d on other grounds, 438 F.3d 119 (1st Cir. 2006)

  (holding plaintiff not “contending that her reputation was maligned by defamatory statements

  made about suburban teenagers in general,” but instead that they harm her individually due to the

  use “of her picture in connection with the article”); Marr, 196 Or. at 19 (“[W]hen . . . defamatory

  matter points to a particular member of the group or class involved . . ., the person so singled out

  is entitled to redress, . . . [regardless] that the language used may also apply to others”). It is no

  defense to Nicholas’s individual claims that the Post defamed too many teenagers.

         B.      Nicholas Was         Identified    by   Name,      Photograph,      and    Descriptive
                 Circumstances.

         Courts routinely find articles to be of and concerning the plaintiff where the defendant

  utilizes the plaintiff’s likeness in connection with the article or otherwise singles him out within

  the article, even where the offending publication refers only to an indiscriminate class. Indeed,

  even if the Post had not singled out Nicholas within the text of its Articles, the use of and reference

  to the Viral Video prominently featuring Nicholas ends this inquiry. See, e.g., Stanton v. Metro

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  Corp. (Stanton II), 438 F.3d 119, 128 (1st Cir. 2006) (entire article may be of and concerning by

  use of plaintiff’s photograph “even in the absence of any express textual connection between the

  statement and the [plaintiff’s] photograph”) (emphasis added).

         The rule that the juxtaposition of the plaintiff’s photograph with a defamatory article

  creates an issue of fact on the issue of “of and concerning” was settled no later than 1909. Peck v.

  Tribune Co., 214 U.S. 185, 188-89 (1909) (“[o]f course, the insertion of the plaintiff’s picture in

  the place and with the concomitants that we have described imported that she was the nurse and

  made the statements set forth,” despite plaintiff’s photograph being captioned with another’s

  name); see also Nappier v. Jefferson Standard Life Ins. Co., 322 F.2d 502, 504 (4th Cir. 1963)

  (“These aims could not be fully achieved if only disclosure of one’s proper name was forbidden.”);

  Wallace v. Media News Group, Inc., 568 Fed. App’x 121, 124 (3d Cir. 2014) (same); Little Rock

  Newspapers, Inc. v. Fitzhugh, 330 Ark. 561, 569-70 (1997) (collecting cases).

         Of the many cases on point, the decisions rendered in the case of Stanton v. Metro Corp.

  are perhaps the most illustrative. There, an article, headlined “The Mating Habits of the Suburban

  High School Teenager,” indiscriminately referred only to high school students and teenagers “in

  the Boston area.” Stanton v. Metro Corp. (Stanton I), 357 F. Supp. 2d 369, 372 (D. Mass. 2005),

  rev’d and remanded, 438 F.3d 119 (1st Cir. 2006). Despite the plaintiff “not [being] named

  anywhere in the article” and the presence of seven photographs depicting sixteen students, the

  group libel defense was rejected because the plaintiff “is the central female figure in the most

  prominent illustration, not an unidentified member of a large and undifferentiated group,” and

  “[b]ased on that juxtaposition alone, a reasonable reader conclude that the teenage girl depicted in

  the photograph” was the target of the accusations. Id. at 380-81.

         Ultimately, however, the district court erroneously concluded that a disclaimer on the first



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  page of the article explicitly stating that the “individuals pictured are unrelated to the people or

  events described in this story” negated the otherwise existing impression that the article was about

  the plaintiff. Id. On this point, the First Circuit reversed the district court, holding that “the

  presence of the disclaimer does not permit the conclusion, as a matter of law, that the article is not

  of and concerning Stanton.” Stanton II, 438 F.3d at 129. Thus, despite not naming the plaintiff,

  referring indiscriminately to teenagers in suburban Boston high schools, the presence of at least

  seven photographs depicting at least sixteen people, an express and conspicuous disclaimer on the

  front page stating the individuals in the photographs were entirely unrelated to the article, and the

  fact that “the article draws no literal connection between the subjects of the photograph and the

  subjects of its story,” the First Circuit held that a “reasonable reader could believe that Stanton . .

  . is in fact one of the teens whose promiscuous behavior is described in its text.” Id. at 128, 130.

         Similar holdings finding an article in its entirety to be of and concerning the plaintiff by

  use of his or her photograph – even in the absence of any textual reference to the plaintiff – are

  commonplace.      See, e.g., Cheney, 654 Fed. App’x 578, 581 (article stating a sex scandal

  “implicates dozens of city employees, including . . . firefighters” held reasonably capable of

  concerning plaintiff firefighter whose photo accompanied article); Holmes v. Curtis Pub. Co., 303

  F. Supp. 522, 523, 527 (D.S.C. 1969) (jury issue for of and concerning where article included

  plaintiff’s photograph at table with four others even though the article “does not identify or

  otherwise refer to plaintiff” except by his picture); Jackson v. Consumer Publ’ns, 11 N.Y.S.2d

  462, 464 (App. Div. 1939) (jury issue where article only identified plaintiff by his picture and

  referred generally to dishonest auctioneers).

         Even where the Post may have only referenced the Viral Video rather than include it within

  the body of an Article, such reference still rendered the entirety of the Article of and concerning



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  Nicholas because many readers were aware of the incident already. (Comp. Exs. D-J). The Viral

  Video was viewed millions of times (id. ¶¶ 55-56), and it is reasonable to believe that, to the extent

  any readers did not previously know of Nicholas’s involvement, they then sought to discover it

  with the aid of the Post’s reference. See, e.g., Restatement § 564A cmt. d (“Even when the group

  or class defamed is a large one, there may be circumstances that are known to the readers . . . which

  give the words . . . personal application to the individual that he may be defamed as effectively as

  if he alone were named.”); Marr, 196 Or. 1, 28 (article referring generally to “radio dealers and

  repair plants” of and concerning plaintiff because “persons with a knowledge of the circumstances

  could reasonably have understood . . . that it referred to the plaintiffs”); Farrell, 399 Pa. 102, 109

  (“Moreover, it is not unreasonable to conclude that many other Upper Darby readers of the Inquirer

  who, prior to the defamatory article, had not known [plaintiff’s] identity . . . were impelled . . . to

  make inquiry and find out” plaintiff’s identity.”).

         Finally – in a superfluous addition to the circumstances set forth above making Nicholas

  individually identifiable and ascertainable – a contextual reading of the Articles often mandates

  that statements about the teens generally apply to Nicholas specifically. For instance, the Post

  asserts on page 31 of its Motion that Nicholas was not referenced in the statement that “the teens

  . . . suddenly swarmed around [Phillips] as he and other activists were wrapping up the march and

  preparing to leave.” That assertion is nonsensical since the Viral Video shows Nicholas face-to-

  face with Phillips, and it is Nicholas that the Post specifically accused of blocking Phillips’ retreat

  from the swarm of students. There is literally no meaning available to this juxtaposition other than

  that Nicholas, specifically, was involved in “suddenly swarming” Phillips and, in fact, led the

  swarm. The January 18 incident was one discrete event, and is entirely unreasonable to suggest

  that readers would not identify Nicholas as having engaged in the conduct described at that single



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  event and instead universally assume he was an innocent bystander. Cf. Yow v. National Enquirer,

  Inc., 550 F. Supp. 2d 1179, 1182-83, 1190 (E.D. Cal. 2008) (accusations against group capable of

  applying to plaintiff even where only mention of her was non-defamatory and article left open

  possibility that defamatory occurrence took place on another occasion when plaintiff not present).

         The three cases relied on by the Post do not change the analysis, and, in fact, support

  Nicholas’s position. The Post relies on O’Brien for its group libel defense, but O’Brien found that

  the reference to one particular teacher within a large group of teachers (Mr. Hunt), coupled with a

  contextual reading that “arguably leaves the impression that the fight and the sexual misconduct

  were somehow related,” defeated the defendant’s motion as to that plaintiff. 735 F. Supp. 218,

  223-24. The Post also relies on Rubin v. U.S. News & World Report, Inc., 271 F.3d 1305 (11th

  Cir. 2001), which has literally nothing to do with the group libel doctrine. In Rubin, there was no

  question that the plaintiff was identifiable and ascertainable – he was voluntarily pictured and

  quoted. Instead, the court found that, in context, the accusations against an unidentified group of

  drug traffickers who use the gold industry to launder money did not implicate the plaintiff, who

  was an on the record source for the article as the owner of a gold refinery (not a member of a group

  of drug trafficking money launderers). Finally, the Post cites this Court’s decision in Loftus v.

  Nazari, 21 F. Supp. 3d 849 (E.D. Ky. 2014), asserting that it is “a similar fact pattern.” (Mot. at

  30). While Loftus at least addressed the group libel doctrine, its facts are not similar to and do not

  control this case. In Loftus, a contextual reading made clear the defendant had asserted that

  unspecified other doctors were covering up for her doctor (plaintiff) in refusing to hold her

  responsible, which, unlike here, described separate occurrences.

  III.   The Articles Are False and Defamatory.

         A.      The Post Has Admitted that Its Articles Conveyed the Meanings Alleged by
                 Nicholas and that Those Meanings Are False.

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         The Post’s brief makes the incredible statement that its “coverage cannot reasonably be

  understood to bear the meanings alleged in the Complaint – that Plaintiff ‘instigated a

  confrontation with Phillips,’ that he ‘assaulted and/or physically intimidated Phillips,’ that he

  ‘engaged in racist taunts,’ or that he ‘violated the policies of his school such that he should be

  expelled.’” (Mot. at 19). Yet the Post’s editor’s notes – which are used for “significant mistakes”

  that “call into question the entire substance of an article” – draw the same meanings from its

  coverage, stating, among other things, “[s]ubsequent reporting and video evidence contradicted

  or failed to corroborate that one of the activists was accosted and prevented from moving, that

  they had been taunted by the students in the lead-up to the encounter, that the students were

  trying to instigate a conflict, or that ‘March for Life’ participants chanted ‘Build that wall.’” (Mot.

  at 13) (emphasis added).14

         Thus, the Post’s lawyers in this litigation are making an argument that has already been

  contradicted by the Post’s editors, who plainly recognized that: (1) the gists of the Articles are that

  Phillips was “accosted” and “prevented from moving,” that the students “taunted” Phillips and his

  companions, that Nicholas and the CovCath students “were trying to instigate a conflict,” and that

  Nicholas “physically intimidated” Phillips; and (2) that these gists conveyed by the Post were so

  inaccurate that the entire substance of the Articles was called into question and the Post did not

  meet the its own standards. Counsel for the Post cannot reasonably expect this Court to adopt a

  legal argument that plainly contradicts the position already taken by its client’s editorial staff.

         The Post attempts to squeeze certain of its accusations into the doctrine of substantial truth

  but in doing so avoids any discussion of the 12(b)(6) standard and Nicholas’s allegations as well



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    As referenced in the Introduction, the Post also published varying versions of this editor’s note
  online, including, inter alia, the admission that Nicholas did not “physically intimidate” Phillips.
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  as the substantial truth standard, itself, which applies only “in very narrow and limited

  circumstances and relates only to incidental information and not to essential content.” Ky.

  Kingdom, 179 S.W.3d 785, 791. Moreover, a defendant is entitled to judgment only “if the

  evidence supports, without contradiction or room for reasonable difference of opinion, the defense

  that these statements were substantially true.” Stringer, 151 S.W.3d 781, 796.

            In this regard, the Post targets only two particular statements: that Nicholas blocked

  Phillips’ path and would not allow him to retreat (Mot. at 20) and that Nicholas was mocking or

  taunting Phillips with a tomahawk chop (id. at 26). Contrary to the Post’s contorted presentation

  of the facts in asserting it was substantially true to accuse Nicholas of “blocking” Phillip’s path to

  the Lincoln Memorial and his escape from an aggressive swarm of students, Nicholas’s allegations

  and the video evidence15 confirm that: (1) it was Phillips who confronted Nicholas after passing

  up open space to ascend to the Lincoln Memorial (Compl. ¶¶ 26-27, 30, 34-36, 39, 50); (2)

  Nicholas never made any movement toward Phillips or to block his path, at all (id. ¶¶ 40-41, 43-

  46, 50); (3) Phillips never attempted to move past or around Nicholas and was never denied

  freedom of movement (id. ¶¶ 33, 37), and (4) Phillips never actually attempted to move to the

  Lincoln Memorial, and instead turned around and celebrated his perceived victory over Nicholas

  when Nicholas left the scene. (Id. ¶¶ 48-49). Moreover, the Post’s position ignores the falsity of

  the meaning of its reporting arising from the text of the Articles themselves, including that

  Nicholas was alleged to have targeted Phillips from afar and otherwise physically intimidated him

  in a manner amounting to assault. See, e.g., McCall, 623 S.W.2d 882, 884 (“We must, therefore,

  analyze the article in its entirety and determine if its gist or sting is defamatory.”); cf.

  https://wapo.st/2LJaCV7 (“[R]eaders would be licensed to conclude that the students saw him



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       Nicholas published his own video showing the truth of the January 18 incident. (Compl. ¶ 65).
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  from afar, targeted him and advanced.”) (last visited May 7, 2019). As discussed herein, Nicholas

  did not instigate a conflict or target Phillips from afar, as the Post has admitted in its editor’s notes.

  (See, e.g., Compl ¶¶ 26, 31, 43,50, 67, 75).

          In its second point, the Post asserts that it was substantially true to accuse the CovCath

  students of mocking and taunting Phillips (despite its admission in its editor’s note that the verbal

  taunts stated in the Post’s coverage did not occur), by performing a tomahawk chop. To support

  its position, the Post cobbled together some still frames from the video Nicholas’s published

  purporting to show Nicholas performing a single chopping motion. (Mot. at 26, Ex. 5). Those

  still frames patently do not conclusively show Nicholas engaged in a chop, and Nicholas has

  specifically alleged that he did not mock or taunt Phillips. (Compl. ¶ 50). Moreover, the Post

  cannot assert that it was substantially true as to Nicholas because other students appear to have

  performed a chop. See, e.g., Marr, 196 Or. at 28 (“If the defendant’s words have in fact injured

  the plaintiff’s reputation, it is no defense to an action that the defendant intended to refer to some

  one else. He should have been more explicit; his secret intention is immaterial.”).16

              1. The Articles Are Defamatory Per Se.

          The Post argues incorrectly that the statements in the complaint are not defamatory per se.

  The Post, relying on statements taken entirely out of context – the cardinal rule of construction –

  urges this Court to hold (1) that the Articles are not false and defamatory “per se” because certain



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     On the basis of substantial truth, the Post attempts to pigeonhole Nicholas’s claim as one for
  defamation by implication (Mot. at 27), but that rule only applies where the defamatory meaning
  arises from the juxtaposition of true facts rather than from the reasonable meaning of false
  statements themselves. Here, the defamatory meanings arose directly from the Post’s publication
  of false facts, and those facts, themselves, conveyed in context the defamatory meanings. See,
  e.g., Nichols v. Moore, 477 F.3d 396, 402 (6th Cir. 2007); Toney v. WCCO Television, Midwest
  Cable and Satellite, Inc., 85 F.3d 383, 386–87 (8th Cir. 1996) (“[T]he touchstone of implied
  defamation claims is an artificial juxtaposition of two true statements or the material omission of
  facts that would render the challenged statement(s) non-defamatory.”).
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  of the statements are capable of an innocent construction and (2) that, because Nicholas failed to

  plead special damages, this Court should dismiss the Complaint. Although the Articles are not

  reasonably capable of an innocent construction as to Nicholas, it is irrelevant whether such a

  construction is possible because they are indisputably capable of a defamatory construction.

          Kentucky common law has an expansive definition of statements that are libel per se and

  thus actionable without proof of reputational damage:

          The test to determine whether a written publication is libelous per se has been
          various expressed. The general proposition is that words, written or printed, are
          libelous and actionable per se, justifying a recovery without allegations of special
          damages, if they tend to degrade and disgrace the person about whom they are
          written or printed, or tend to expose him to public hatred, ridicule, contempt,
          aversion, or disgrace, or to induce an evil opinion of him in the minds of right-
          thinking persons and to deprive him of their friendly intercourse and society. In
          order to be libelous per se, it is not essential that the words involve an imputation
          of crime. . . .

  Shields v. Booles, 238 Ky. 673, 681 (1931) (holding statements per quod because article only

  defamatory upon reference to a fact not present in the article); see also Digest Pub. Co. v. Perry

  Pub. Co., 284 S.W.2d 832, 834 (Ky. 1955). The logic is clear, if the statements on their face would

  tend to hold the plaintiff up to public hatred, contempt, or ridicule, etc., then the statements at issue

  undeniably have caused reputational damage to the plaintiff. If, on the other hand, the statements

  do not hold the plaintiff up to public hatred, contempt, or ridicule, etc., without knowledge of

  information outside the article at issue, then the plaintiff must plead and prove that information

  necessary to make the statements defamatory, i.e., to establish that the plaintiff has been damaged.

          The Western District of Kentucky issued an opinion earlier this year that carefully, and

  correctly, analyzes this issue and holds adverse to the Post’s position. Desai, 2019 WL 1421756

  (W.D. Ky. Mar. 29, 2019). In that case, the question was whether the term “Printer-gate” could

  constitute defamation per se. Analogous to the Post’s argument in this case, in Desai, the



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  defendant’s “overarching argument is that the ‘Printer-gate’ reference in [the] presentation cannot

  constitute defamation per se because it requires consideration of extrinsic circumstances.” Id. at

  *4. The court in Desai noted that – exactly like the Post in this case – the defendant “cites two

  Kentucky cases, Sweeney & Co. v. Brown, 60 S.W.2d 381 (Ky. 1933), and Towles v. Travelers

  Insurance Co., 137 S.W.2d 1110 (Ky. 1940) (which followed Sweeney), for the proposition that

  an ambiguous statement cannot constitute defamation per se. Specifically, [defendant] points to

  the Sweeney court’s definition of libel per quod as “words reasonably susceptible of a defamatory

  meaning as well as an innocent one.” Id. at *5. The Court rejected this argument, citing to the

  Kentucky Supreme Court’s “equally thorough and far more recent discussion in Stringer on facts

  strikingly similar to those at issue here.” Id. at *5. “Stringer upheld a finding of defamation per

  se based on a statement capable of interpretation as either defamatory or not . . . .’ Id. at *7; see

  also Welch v. American Publishing Co. of Kentucky, 3 S.W.3d 724, 736 (Ky. 1999) (analyzing

  whether statement was per se and holding “we laid this issue to rest in Yancey . . . in which we

  held that ‘if the words at issue are capable of more than one meaning . . . the jury should decide

  which of the meanings a recipient of the message would attribute to it’”).

         An excellent illustration of the requirement of extrinsic information that would render a

  statement defamatory per quod instead of defamatory per se is found in a headline reading,

  “Boyfriend Sues for Raffle Prize; Sweeter Than Love?” Richard J. Conviser & Roger W. Meslar,

  “Obsolete on its Face: The Libel Per Quod Rule,” 45 Ark. L. Rev. 1, 1 (1992). The man who was

  named as the boyfriend was also married, which was a fact that was not disclosed in the article.

  Id. Thus, the claim was for defamation was per quod, as the boyfriend’s status as a married man

  was an extrinsic fact without which the statement at issue was false but not defamatory. Id.

         In this case, there are no extrinsic facts necessary to establish that the Post’s accusations



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  about Nicholas were capable of a defamatory meaning – all information necessary to make that

  determination is contained within the four corners of the Articles. The Post contends in its Motion

  that the following statements are not defamatory per se because they require extrinsic evidence to

  establish a defamatory meaning: (1) “I started going that way [toward the Lincoln Memorial], and

  that guy in the hat stood in my way and we were at an impasse. He just blocked my way and

  wouldn’t allow me to retreat” (Mot. at 20); and (2) that Nicholas “assaulted and/or physically

  intimidated Phillips,” “instigated a confrontation with Phillips,” and “engaged in racist taunts” and

  “racist conduct” (Mot. at 24, 28-29).

         These accusations do not need any information beyond the four corners of the Articles to

  establish that they are defamatory, Nicholas has not alleged any extrinsic facts that are necessary

  to transform these statements into defamatory allegations, and the Post has not identified any

  extrinsic facts that would be necessary to transform these statements into defamatory allegations.

  As discussed below, the Post’s accusations are defamatory on their face. The Post falsely accused

  Nicholas, a white, Catholic student wearing a MAGA hat, of, among other things, targeting,

  threatening, and blocking a Native American Elder and not then allowing him to retreat from a

  throng of rambunctious, taunting teenagers. As is obvious and more fully set forth below, these

  accusations unquestionably hold Nicholas up to public hatred, contempt, or ridicule without

  knowledge of any other facts.

             2. The Articles Are Capable of a Defamatory Meaning.

         Context is fatal to the Post’s position, and so it would have this Court look only to the

  words used without context to hold that “standing in or blocking another’s way” is not defamatory.

  (Mot. at 22). Indeed, the Post would have this Court view the statements in an entirely different

  context – such as “Kentucky’s ‘Stand Your Ground’ law.” (Mot. 22, n.17). Despite the Post’s



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  ardent desire to turn its own words into something entirely different, Kentucky law is clear that

  this Court must examine the statements in the context in which they were published. See, e.g.,

  Biber v. Duplicator Sales & Service, Inc., 155 S.W.3d 732, 738 (Ky. Ct. App. 2004) (“Alleged

  defamatory statements must be construed in the context of the entire communication”); Ky.

  Kingdom, 179 S.W.3d 785, 791 (“A jury . . . must consider the broadcasts in their entirety when

  determining whether the statements and inferences within it are false and defamatory.”). The

  Articles did not involve the Post praising Nicholas for defending himself in the face of imminent

  harm: these Articles skewered Nicholas for physically intimidating and blocking the escape of a

  peaceful Native American elder who was merely praying at a rally supporting Indigenous rights.

         Moreover, though not at issue here, defamatory meaning is not a matter of “majority vote,”

  it suffices if a respectable minority finds the content defamatory. See, e.g, Peck, 214 U.S. 185, 190

  (1909); Restatement § 559 cmt. e (“substantial and respectable minority” is sufficient).

         All of the Post’s Articles were imbued with language conveying to the reader that Nicholas

  was responsible for instigating a threatening confrontation, which was racially motivated and

  reprehensible, and that Phillips was the “hero” of the story – an Indigenous elder and Vietnam

  veteran who was the victim of racist actions and white privilege. In the First, Second, and Third

  Articles, the Post wrote, among other things, that Phillips was “singing a song of unity for

  indigenous people to ‘be strong’ in the face of the ravages of colonialism”; that Nicholas was one

  of a “throng of young, mostly white teenage boys”; that Phillips “was singing the American Indian

  Movement song of unity that serves as a ceremony to send the spirits home”; that “participants

  from the nearby March for Life rally began taunting the dispersing indigenous crowd”; and that

  “Phillips, an Omaha tribe elder who also fought in the Vietnam War, has encountered anti-Native

  American sentiments before. . . .” (Compl. Exs. D-F).


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         In the Fourth Article, the Post wrote, among other things, about “a group of Kentucky teens

  in ‘Make America Great Again’ hats taunting a Native American veteran”; that the incident related

  to the question of “whether the close affiliation of many antiabortion leaders with President Trump

  . . . has led to moral decay that harms the movement”; and about “a throng of young, mostly white

  teenage boys, several wearing [MAGA] caps.” (Id. Ex. G).

         In the Fifth Article, the Post wrote, among other things, about “a group of high school boys

  [who] confronted an elderly Native American man” “smirking and laughing as one of their

  members appeared to physically intimidate Nathan Phillips”; and that the “young men who

  confronted the Native American protester had somehow internalized that their behavior was

  acceptable.” (Id. Ex. H).

         In the Sixth and Seventh Articles, the Post wrote, among other things, about “Catholic

  schoolboys from Kentucky – some wearing Make America Great Again hats”; that “they came

  together in an incident that would echo nationwide for its ugliness”; that “a Native American elder

  intervened, singing and playing a prayer song”; that Phillips was “a member of the Omaha tribe

  and a Marine veteran”; that “Phillips played a prayer song on a drum”; and that Phillips “saw a

  long history of white oppression of Native Americans.” (Id. Exs. I-J).17

         In its Tweets, the Post wrote, among other things and in addition to linking to the Articles,

  that “Omaha tribe elder Nathan Phillips says he ‘felt like the spirit was talking through me’ as



  17
    To the extent the Post argues that its Sixth and Seventh Articles are not defamatory because
  they included Nicholas’s account of what happened, that argument fails. Perpetuating the false
  narrative alongside some of the truth does not erase the defamatory meanings raised by the false
  accounts. See, Ball v. E.W. Scripps Co., 801 S.W.2d 684, 686 (Ky. 1990) (“There is also a
  comment from Ball next to his picture, but the comment has little impact in offsetting the overall
  defamatory character of the article”); McCall, 623 S.W.2d 882, 894 (“They are not saved by
  accompanying the defamation with an expression of disbelief”); Washington Post Co. v. Kelly,
  38 F.2d 151, 152 (D.C. Cir. 1930) (“libelous character of the article was not changed by the
  somewhat equivocal suggestions that its truth was denied by appellee”).
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  teens jeered and mocked him”; that Phillips was “singing the American Indian Movement song of

  unity”; and that Phillips “fought in the Vietnam War.” (Id. Ex. K).

         These statements – all within the “four corners” of the Articles – provide the context within

  which the Post’s accusations were published. It is impossible to attribute a non-defamatory

  meaning to the Post’s accusation that Nicholas was “block[ing] [Phillips’] path” and his “retreat”

  when you consider that the statement was made within the context of Articles that went to great

  pains to make it clear that Nicholas was a white Catholic student wearing a MAGA hat who had

  attended the March for Life, a controversial event associated with President Trump; that Phillips

  was a Native American elder and Vietnam veteran who was singing and playing a prayer song of

  unity; and that the throng of white Catholic boys was taunting the Indigenous people as they

  concluded a march celebrating their culture while the elder thought about the “various threats

  facing indigenous communities” and had experienced similar “anti-Native American sentiment

  before.”18 That was the story – absent the express themes of race, politics, and abortion, there

  would have been nothing interesting at all about Nicholas “block[ing] [Phillips’] path” at the

  Lincoln Memorial. But those lightning-rod issues that the Post repeated throughout the entirety of

  the Articles are the context in which the Articles must be judged.

         Within that context, all of the other accusations targeted by the Post in its Motion (as well

  as those not specifically addressed) must also be considered defamatory, or at the very least capable

  of a defamatory meaning, including as examples: (1) chanting “Build that wall”; (2) “swarming”

  around Phillips; (3) “[a]ccost[ing]” Phillips; (4) “[e]xchang[ing] taunts”; and (5) not showing

  “respect” to Phillips. This was not a political rally. According to the Post, Nicholas and his




  18
    At the very least, the False and Defamatory Accusations, when considered in context, are
  capable of a defamatory meaning such that they cannot be disposed of on a motion to dismiss.
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  classmates were chanting “build that wall” as taunts toward the Indigenous people and these

  various actions constituted “anti-Native American sentiment.” While accusations of any of these

  actions might not be considered defamatory in different contexts, accusing Nicholas of them in the

  context of these Articles – which were inundated with statements making clear the races and the

  politics were of the individuals involved – is certainly defamatory.

         Moreover, the Court must examine the gist or sting of the Articles when assessing

  defamatory meaning. McCall, 623 S.W.2d at 884. The accusations that Nicholas was “trying to

  instigate a conflict” in “an aggressive display of physicality,” during which Phillips was

  “threatened” when he was swarmed and then his path and retreat blocked by Nicholas while

  Phillips was engaged in song and prayer, alongside claims that Nicholas engaged in various racist

  taunts, anti-Native American sentiment, and violated the fundamental standards of his church and

  school, renders the Articles susceptible to the meanings alleged by Nicholas that he instigated the

  confrontation, assaulted Phillips, engaged in racist conduct, and violated the fundamental

  standards of his communities. (Compl. ¶¶ 115-17, 120, 125-28, 132-35, 130-40, 145-48, 152-55).

         These accusations clearly could and did hold Nicholas open “to public hatred, contempt,

  scorn, obloquy, or shame.” Stringer, 151 S.W.3d 781, 795. Indeed, the Post does not and cannot

  seriously contest that accusations of specific racist conduct, racist speech, and assault are routinely

  held to be actionable per se. See, e.g., Fortney v. Guzman, 482 S.W.3d 784, 789-90 (Ky. Ct. App.

  2015) (“When the communication concerns untrue allegations of criminal behavior . . . the

  communication is libelous per se”); Toikka v. Jones, 2013 WL 978926, at *3 (E.D. Ky. 2013)

  (statement defendants “witnessed [plaintiff] push Evelyn Jones and call her a bitch” libelous per

  se because it meets definition of assault, which is “an unlawful offer of corporeal injury to another

  by force . . . .”); Toler, 458 S.W.3d 276, 280 (accusation of racist comments in the workplace”



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  held defamatory per se); Mullenmeister v. Snap-On Tools Corp., 587 F. Supp. 868, 874 (S.D.N.Y.

  1984) (collecting cases and holding that “[c]ourts have readily held allegations of racism . . . to

  constitute libel per se, at least when founded on specific incidents”); Boyles v. Mid-Florida

  Television Corp., 431 So. 2d 627, 634–35 (Fla. Dist. Ct. App. 1983), approved, 467 So. 2d 282

  (Fla. 1985) (the accusation “taunting19 the retarded patients” “is something that would tend to

  subject one to contempt or disgrace,” without regard to innuendo).

         The republished Diocese and CovCath statements are also libelous per se, as they are a

  proclamation that Nicholas’s conduct violated the fundamental standards of his religious

  community and the policies of his school, which necessarily tends to injure Nicholas “in his

  reputation or to expose him to public hatred, contempt, scorn, obloquy, or shame” in his

  community. Stringer, 151 S.W.3d at 795.

  IV.    The Articles Are Not Protected Opinion.

         The Post cannot rely on an opinion defense to escape liability for its attacks against

  Nicholas that imply false and defamatory facts or that are based on false or incomplete facts. The

  Supreme Court’s decision in Milkovich v. Lorain Journal is the guidepost for determining if a

  statement of opinion is actionable rather than protected. 497 U.S. 1 (1990).20



  19
     “Jeered” and “mocked” are synonyms of “taunted.” See Merriam-Webster (defining “taunt” as
  “to reproach or challenge in a mocking or insulting manner : jeer at) (available at
  https://bit.ly/2VuJaih) (last visited May 8, 2019); Thesaurus.com (listing “jeer” and “mock”
  among the “most relevant” synonyms for the verb “taunt”) (available at
  https://www.thesaurus.com/browse/taunt) (last visited May 8, 2019).
  20
     Before Milkovich was decided, the Kentucky Supreme Court adopted the Restatement § 566,
  which does not protect an opinion that “implies the allegation of undisclosed defamatory fact as
  the basis for the opinion.” Yancey, 786 S.W.2d 854, 857. The Kentucky Supreme Court, the
  Kentucky Court of Appeals, and Kentucky federal courts have since followed Milkovich,
  recognizing that “it took a position consistent with [Yancey].” Williams v. Blackwell, 487 S.W.3d
  451, 454 (Ky. Ct. App. 2016), as modified (Mar. 4, 2016); see also Welch, 3 S.W.3d 724, 730
  (applying Milkovich rather than the Restatement); Cromity v. Meiners, 494 S.W.3d 499, 503 (Ky.
  Ct. App. 2015), review denied (Aug 17, 2016) (recognizing consistency between Milkovich and
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          Milkovich held that an opinion is actionable if (1) it implies a connotation that “is

  sufficiently factual to be susceptible of being proved true or false,” and (2) it can “reasonably [be]

  interpreted as stating actual facts” about the plaintiff.21 Id. at 21. This first requirement is at issue

  in this case, as the Post argues that some of its statements are too subjective to be proven true or

  false. The second requirement, however, is not, because the Post does not argue its statements

  were merely “rhetorical hyperbole,” “vigorous epithet,” or “imaginative expression.” See id. at 20

  (explaining the second requirement follows the Bresler–Letter Carriers–Falwell line of cases).

          The Supreme Court explains the difference between an opinion bereft of a disclosed basis

  – which itself implies the existence of undisclosed facts – and an opinion that discloses the basis:

          If a speaker says, ‘In my opinion John Jones is a liar,’ he implies a knowledge of
          facts which lead to the conclusion that Jones told an untruth. Even if the speaker
          states the facts upon which he bases his opinion, if those facts are either incorrect
          or incomplete, or if his assessment of them is erroneous, the statement may still
          imply a false assertion of fact.

  Id. at 18-19 (internal citations omitted) (emphasis added).

          The Milkovich standard is clear: an opinion stating that an objectively verifiable event

  occurred necessarily implies the existence of undisclosed facts to support the opinion, unless the

  opinion’s basis is disclosed. Even then, if the disclosed basis is false or incomplete, the opinion

  remains actionable. The fundamental question is whether a defendant makes an accusation about

  a verifiable event that either happened or did not – i.e., it can be proven true or false. Thus, “[i]n

  my opinion Mayor Jones shows his abysmal ignorance by accepting the teachings of Marx and



  Yancey); Carey v. CSX Transportation, Inc., 2019 WL 181120, at *3–4 (E.D. Ky. Jan. 11, 2019)
  (applying Milkovich and refusing to protect an opinion based on “nothing more than [an expert’s]
  own unsupported conclusions”). Or, as the Tenth Circuit put it, “the difference between . . .
  [Milkovich and the Restatement] is more apparent than real.” TMJ Implants, Inc. v. Aetna, Inc.,
  498 F.3d 1175, 1185 (10th Cir. 2007).
  21
     This second Milkovich requirement is not at issue in this case, as it protects statements that are
  mere “rhetorical hyperbole,” “vigorous epithet,” or “imaginative expression.”
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  Lenin,” id. at 20, is a protected opinion because whether someone is considered ignorant is a

  subjective determination that is in the eye of the beholder. But an opinion that a person engaged

  in conduct – such as perjury, assault, or instigating a confrontation – speaks of objectively

  verifiable events and is thus actionable if its basis is undisclosed or its basis is false or incomplete.

          When determining if an opinion is actionable, a court examines the “whole context” of a

  publication. Yancey, 786 S.W.2d at 857. In Yancey, the defendant newspaper quoted another

  defendant’s statements that the plaintiff “‘“was a con artist”’” and “‘“I would never lend him

  money.”’” Id. at 856 (emphasis in original). In context, “con artist” was an actionable opinion

  because it implied the existence of facts showing that the plaintiff defrauded people. Id. at 858.

          A.      The First, Second, and Third Articles Are Not Protected Opinion.

               1. “Phillips, 64, said he felt threatened by the teens and that they suddenly
                  swarmed around him as he . . . [was] preparing to leave.”

          This statement is actionable because it implies defamatory facts and is based on false and

  incomplete facts. The Post erroneously argues (1) that “felt threatened” is a statement of subjective

  feelings and thus does not imply defamatory facts and (2) that “felt threatened” and “suddenly

  swarmed” are protected opinions based on the disclosed fact that teens surrounded Phillips.

          It is black letter law that communicating one “feels” or “believes” something happened

  may imply the existence of defamatory facts. In Scheel v. Harris, the defendant “said he felt he

  was blackmailed . . . and he didn’t trust [the plaintiff] enough to know what she might do.” 2012

  WL 3731263, at *7 (E.D. Ky. Aug. 28, 2012) (emphasis added). This was actionable because, in

  context, it could “‘imply that the speaker had particular and articulable reasons for believing’ that

  [the plaintiff] engaged in coercive techniques to achieve her professional goals.” Id. (quoting

  Yancey, 786 S.W.2d at 858). Or, as Milkovich held: “couching a statement in terms of opinion

  does not dispel [the factual implications].” 497 U.S. at 19.

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           Here, just like Scheel, the statement that Phillips “felt” threatened implied defamatory facts

  that Nicholas threatened Phillips’ personal safety – particularly given the context stating Nicholas

  “blocked [Phillips’] way and wouldn’t allow [him] to retreat” as Phillips was “suddenly swarmed”

  in “an aggressive display of physicality.” “Felt threatened” is not a purely subjective opinion, such

  as whether someone is ignorant. It communicates, inter alia, that a crime occurred under D.C. law

  – intent-to-frighten assault – which is proven, in part, by showing that “a defendant’s conduct

  produces fear in the victim.” See Smith v. United States, 593 A.2d 205, 206 (D.C. 1991); see also

  Yancey, 786 S.W.2d at 858 (holding that “con man” implied facts of “‘Theft by Deception’”).

           Even if, as the Post argues, “felt threatened” and “suddenly swarmed” are opinions based

  on the disclosed fact that Nicholas and other children “surrounded” Phillips, the statement is still

  actionable because this basis is false: Nicholas and the teens did not surround Phillips. See, e.g.,

  Carey, 2019 WL 181120, at *4 (opinion actionable when based on “unsupported conclusions”);

  see also Overhill Farms, Inc. v. Lopes, 190 Cal. App. 4th 1248, 1263-64 (2010) (finding no

  protected opinion for accusation of racism where “statements [did] not fully and accurately

  disclose the facts”). In context, “surrounded” communicated that Nicholas actively closed in on

  Phillips who was trying to leave, when, in fact, Phillips purposefully waded into the group of

  children who made way for him, until Phillips decided to plant himself in front of Nicholas.

           “Felt threatened” and “suddenly swarmed” are also actionable because they are based on

  incomplete facts. The first three articles referenced or linked to the Viral Video which contained

  a short video clip showing Phillips pounding his drum in Nicholas’s face while children smiled,

  clapped, and jumped to the beat.22 The obviously incomplete clips omit Nicholas and others being

  berated by Hebrew Israelites, and Phillips bypassing a clear path to the Lincoln Memorial,



  22
       See https://www.instagram.com/p/Bsy80cfFVAR/.
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  inserting himself in the crowd of children, zeroing in on Nicholas, and then gloating with his

  profanity spewing comrades once the children boarded their school buses.

             2. “[T]aunting the dispersing indigenous crowd.”

         The First, Second, and Third Articles communicated that before Phillips marched into the

  group of children, Nicholas and others were “taunting the dispersing indigenous crowd.” The Post

  argues that “taunting” is too subjective to be actionable – despite its editor’s note conceding that

  race-based “taunting” is objective enough to be proven true or false. (Mot. at 13 n.4). The Post

  also concedes that “taunting” is factual by arguing that it is “substantially true” that Nicholas and

  the children “engaged in conduct that was perceived by many as taunting or mocking.” (Id. at 26).

  If “taunting” can be proven true, it is necessarily a provably false fact.

         Even if “taunting” could be considered opinion, it implies the existence of defamatory facts

  that Nicholas was actively instigating a conflict23 with Phillips and others because of their race.

  Indeed, the First, Second, and Third Articles frame the incident as an example of “anti-Native

  American sentiment,” a validation “of our concerns about the marginalization and disrespect of

  Indigenous peoples,” and an “aggressive display of physicality [in which] [t]hey were

  rambunctious and trying to instigate a conflict.”

         Whether racist “taunting” occurred is objectively verifiable: “[t]his either happened or it

  did not.” Mamou v. Trendwest Resorts, Inc., 165 Cal. App. 4th 686, 728 (2008). While generically

  calling someone “racist” may, in some circumstances, be non-actionable opinion, when an article

  characterizes specific factual occurrences as racist, the line between protected opinion and




  23
    The editor’s notes also admit that the First, Second, and Third Articles conveyed the falsifiable
  fact that the CovCath students were trying to “instigate a conflict,” and that this fact was either
  contradicted or unable to be confirmed. And, ultimately, the bases allegedly disclosed for “felt
  threatened” themselves convey the same defamatory gist of assault and racist conduct.
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  actionable fact is crossed. See, e.g., Overhill Farms, Inc., 190 Cal. App. 4th at 1262 (rejecting

  opinion defense for “accusation of concrete, wrongful conduct” for statement about “racist firings”

  and “‘discriminatory abuse against Latina women immigrants’”); MacElree v. Phila. Newspapers,

  Inc., 544 Pa. 117, 126-27 (1996) (statement that “appellant was acting in a racist manner in his

  official capacity as district attorney” held actionable); Scott v. Cooper, 226 A.D.2d 360, 360-61

  (N.Y. Ct. App. 1996) (accusation of “racial discrimination” did “not constitute personal opinion”);

  Herlihy v. Metro. Museum of Art, 214 A.D.2d 250, 261 (N.Y. Ct. App. 1995) (accusations plaintiff

  “was anti-Semitic and biased in her treatment of Jew[s]” held actionable).24

         The Post erroneously relies on Turner v. Wells, 879 F.3d 1254 (11th Cir. 2018) to argue

  that “taunting” must be protected opinion. Turner held that an accusation of “homophobic

  taunting” was a “protected subjective assessment of [the defendant’s] conduct and is not readily

  capable of being proven true or false,” and it was also protected as being based on true facts. Id.

  at 1264. In Turner, the plaintiff’s own concession also required a finding that “homophobic

  taunting” was protected opinion, because he argued that his undisputed conduct could be seen as

  merely a joke. Id. Unlike Turner, here, it is false that Nicholas or the other children engaged in

  conduct taunting the Native Americans, particularly before Phillips inserted himself into the crowd

  of children waiting for their bus.25 But, like Turner, the Court should hold the Post to its

  admissions and find that the accusation of racist taunting is sufficiently factual to be actionable.




  24
     The Post ignores this wealth of case law about actionable accusations of racist conduct, citing
  instead to two unpublished cases and arguing that generally labeling a person “racist” is protected
  opinion. See Squitieri v. Piedmont Airlines, Inc., 2018 WL 934829, at *4 (W.D.N.C. Feb. 16,
  2018) (discussing the label, “racist,” not allegedly racist conduct); Forte v. Jones, 2013 WL
  1164929, at *6 (E.D. Cal. Mar. 20, 2013) (accusations of racist conduct—i.e., membership in the
  Ku Klux Klan—is actionable, while labeling someone a “racist” is non-actionable).
  25
     Under Florida law, falsely accusing someone of “taunting” based on an immutable characteristic
  may be defamatory without regard to issues of opinion. See Boyles, 431 So. 2d 627, 634-35.
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              3. “It was getting ugly: Native American drummer speaks on the MAGA-hat
                 wearing teens who surrounded him.”

         The Post declares that the statement that Nicholas and others “surrounded” Phillips is

  merely a subjective assessment. Even if this factual assertion could be considered an opinion,

  “surrounded” implies the existence of an objective fact: Nicholas either surrounded Phillips, or he

  did not. Read alongside the other statements in the first three Articles, “surrounded”

  communicates, inter alia, that Nicholas assaulted Phillips by targeting him from afar and then

  blocking his retreat from a threatening throng of white teenagers.

              4. “It was an aggressive display of physicality. They were rambunctious and
                 trying to instigate a conflict,’ he said.”

         Like the taunting accusation, this is a provably false statement of fact. The Post admitted

  as much in the editor’s note, which conceded that the available information either contradicted or

  failed to confirm conduct that “the students were trying to instigate a conflict.”

         B.      The Second and Third Articles’ Diocese Statement Is Not Protected Opinion.

         The Post argues that the Second and Third Articles’ republication and summary of the

  Diocese and CovCath’s statement condemning Nicholas and others was not a statement of fact and

  is thus protected opinion. But, given the quintessentially per se defamatory nature of the statement,

  as described above, it implies the existence of provably false defamatory facts. By “condemn[ing]”

  Nicholas and the other students’ “actions” towards Phillips and Native Americans, and by

  threatening “expulsion,” the statement implied that actual facts existed to warrant subjecting

  Nicholas to public hatred, contempt, scorn, obloquy, or shame. The implication of underlying

  defamatory facts is all the more pronounced because a reasonable reader would understand that

  Nicholas’s own Diocese and school – which supervised the trip to D.C. – would know what

  happened. Ultimately, the Post’s republication of the Diocese’s and CovCath’s statement is a



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  proclamation that Nicholas’s conduct, as a matter of fact, violated the standards of his religious

  community and the policies of his school, which takes it out of the realm of protected opinion.

         The Post then added its own gloss on the tale makers’, Diocese and CovCath, statement,

  cementing provably false and defamatory factual implications by accusing students of “jeering”

  and being “disrespectful.” As discussed above, “jeered” is a synonym of “taunted.” And according

  to the editor’s note, taunting is provably false. Cf. Jacobs v. Ethel Walker School Inc., 2003 WL

  22390051, at *8 (Conn. Super. Ct. Sept. 30, 2003) (denying summary judgment for defendant who

  accused plaintiff of “mocking” homosexual students). Moreover, whether someone has

  disrespected another is not just a matter of opinion; it is a matter of fact that can lead to criminal

  sanctions and professional discipline. See United States v. Hoxsey, 17 M.J. 964, 965 (A.F.C.M.R.

  1984) (criminal violation for “disrespectful behavior”); Norton v. City of Santa Ana, 15 Cal. App.

  3d 419, 425 (1971) (“disrespect” may warrant dismissal from police department); Perryman v.

  Hackler, 916 S.W.2d 105, 108 (Ark. 1996) (“The only authority for sanctioning comments in a

  brief is when they are disrespectful to a trial court. Ark. Sup. Ct. R. 1–5.”).

         C.      The Fifth Article Is Not Protected Opinion

         The Post contends that only one statement in the Fifth Article is protected opinion: arguing

  that the accusation that Nicholas “appeared to physically intimidate Nathan Phillips” is too

  nebulous to be a statement of fact and is a protected interpretation of an image of Nicholas.

         First, “physically intimidate” is factual and thus susceptible of being proven or false.

  Wesbrook v. Ulrich, 90 F. Supp. 3d 803, 813 (W.D. Wis. 2015) (no protected opinion for

  accusation that plaintiff used “intimidation towards those who disagreed with him”); McGunigle

  v. City of Quincy, 2013 WL 3892901, at *3 (D. Mass. July 25, 2013) (accusation of witness

  intimidation “is factual, rather than opinion”). The factual nature of “intimidate” is clear because



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  it can be an element of a criminal offense in the very jurisdiction where the incident occurred. See,

  e.g., Kurd v. Republic of Turkey, 2019 WL 1243731, at *14 (D.D.C. Mar. 18, 2019) (holding that

  “non-assaultive intimidating” activities, including the use of racist symbols, can be a “designated

  act” under a hate crime statute); see also Minn. Stat. Ann. § 609.749 subd. 1 (“‘[S]talking’ means

  to engage in conduct [that] . . . would cause the victim under the circumstances to feel frightened,

  threatened, oppressed, persecuted, or intimidated.”) (emphasis added).

         Second, even if the word “appeared” signals opinion, “[s]imply couching such statements

  in terms of opinion does not dispel the[] [factual] implications.” Milkovich, 497 U.S. at 19; see

  also StopLoss Specialists, LLC v. VeriClaim, Inc., 340 F. Supp. 3d 1334, 1352 (N.D. Ga. 2018)

  (holding “‘this appears to be insurance fraud’” is not protected opinion) (emphasis added).

         Third, the Post argues “physically intimidate” is not actionable because the basis is

  disclosed. While it is unclear what that basis is – beyond a general reference to “[t]he image” of

  Nicholas and other students – it is evident the basis is incomplete and false and the opinion is thus

  actionable. There is not one image that captures the January 18 incident, as a single image cannot

  show, inter alia: the Hebrew Israelites hurling racist insults at the children and the Native

  Americans; Phillips bypassing a path to the Lincoln Memorial; Phillips intentionally inserting

  himself into the group of children; Phillips zeroing in on Nicholas, who was standing on a stair;

  and Nicholas signaling to his friend not to engage Phillips’ comrade, who took a break from

  filming the scene to curse at children. For this reason, any single image would also be a false and

  misleading portrayal of the January 18 incident.

         The Post relies on inapposite cases to erroneously argue that the statement is protected

  opinion, such as a case from Ohio addressing the phrase “intimidated children.” See Heidel v.

  Amburgy, 2003-Ohio-3073, ¶¶ 10, 21. The Post does not disclose that in Ohio “opinion is



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  nonactionable per se,” whereas under Milkovich opinion does not have blanket protection. 1

  Robert D. Sack, Sack on Defamation: Libel, Slander, and Related Problems § 4:2.4, at 4-49 & n.93

  (5th ed. 2018) (citing Vail v. The Plain Dealer Publishing Co., 1995-Ohio-187). Thus, Heidel

  sheds no light on whether “physically intimidated” is actionable under Kentucky law.

         Nor does the reasoning in this Court’s order in Lassiter v. Lassiter apply here. 456 F. Supp.

  2d 876, 882 (E.D. Ky. 2006), aff’d, 280 Fed. App’x 503 (6th Cir. 2008). In Lassiter, an opinion

  was protected under the Restatement when it was based on disclosed facts that were not “denied.”

  Id.26 The reader was thus “in as good a position as the author to judge whether the conclusion she

  reached – that adultery had been committed – was correct.” Id. Here, to the extent the general

  reference to “the image” even disclosed the basis for “physically intimidated,” the incomplete and

  false nature of the disclosed facts renders the Post’s statement actionable. See Competitive

  Enterprise Inst. v. Mann, 150 A.3d 1213, 1246 (D.C. 2016) (“[T]he facts on which the purported

  opinion is based must be accurate and complete.”) (citing Milkovich, 497 U.S. at 18-19).

         D.      The Sixth and Seventh Articles Are Not Protected Opinion.

         The statement that Phillips “was being surrounded and not being shown respect” is

  provably true or false and is thus actionable. “Surrounded” and “disrespected” are factual

  assertions about conduct that either occurred or did not. The Post does not argue that the Sixth and

  Seventh Articles disclosed a basis for accusing Nicholas of disrespecting Phillips. But these

  articles do emphasize just how serious this accusation is: “‘In Native American culture, respect of

  elders is everything.’” These articles thus imply the existence of undisclosed defamatory facts that

  Nicholas engaged in, inter alia, racist conduct that rose to the level of one of the most serious




  26
    This courts well-reasoned order in Loftus v. Nazari, is likewise distinguishable because the
  opinion’s factual basis was not challenged as false. 21 F. Supp. 3d 849, 853-54.
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  violations for Native American people. The Sixth and Seventh Articles also published the

  Diocese’s and CovCath’s statement, which, as discussed above, is not protected opinion.

         E.      The Tweets Are Not Protected Opinion.

         The Post’s Three Tweets linking to the First Article are not protected opinion, particularly

  when read in the context of that article (as the Post concedes the Court must do). The First Tweet

  stated that “teens jeered and mocked” Phillips. While the Post now argues this is an opinion based

  on true disclosed facts, its editor’s note negates that proposition: i.e., “jeered” and “mocked” are

  merely synonyms of “taunted,” which the editor’s note concedes is provably false.

         As for the Third Tweet, the Post vaguely argues that it is protected opinion because it links

  to the First Article and thus is based on disclosed facts. This strains credulity. The false and

  defamatory factual statement in the Third Tweet consists of two sentences that also appeared in

  the First Article: “I started going that way, and that guy in the hat stood in my way and we were at

  an impasse. He just blocked my way and wouldn’t allow me to retreat.” When discussing the First

  Article, the Post did not argue that these very same two sentences are protected opinion—with

  reason. Whether Nicholas blocked Phillips’ retreat is an objectively falsifiable factual event: it

  either happened or it did not. The editor’s note admits that this statement is either false or factually

  unsupported: i.e., the facts “contradict[] or fail[] to confirm . . . that Native American activist

  Nathan Phillips was prevented by one student [Nicholas] from moving on.” Moreover, the Post’s

  own First Article cannot be the basis for protecting its First Tweet. To the contrary, the First Tweet

  is actionable, in part, because it linked to the defamatory material in the First Article.

                                            CONCLUSION

         For the reasons identified herein, the Post’s Motion should be denied.

         Respectfully submitted this 14th day of May, 2019.



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                                 CERTIFICATE OF SERVICE
         I hereby certify that on May 14, 2019, I electronically filed the foregoing document with

  the Clerk of Court by using the CM/ECF system, which will send a notice of electronic filing to

  registered CM/ECF participants.



                                                      /s/ Todd V. McMurtry
                                                      Plaintiff’s Counsel
